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                                AFFIDAVIT

I, Tiana Kostic, being duly sworn, declare and state as follows:
                       I. PURPOSE OF AFFIDAVIT

     1.    This affidavit is made in support of a criminal

complaint 1 and arrest warrant against Christopher Hampton also

known as (“aka”) “Narco710”, aka “Narco310” (“HAMPTON”) for a

violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii):

distribution of methamphetamine on or about May 3, 2022.

     2.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, a review

of law enforcement databases, and information obtained from

various law enforcement personnel and witnesses.         This affidavit

is intended to show merely that there is sufficient probable

cause for the requested complaint and arrest warrant, and does

not purport to set forth all of my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

           II. BACKGROUND FOR SPECIAL AGENT TIANA KOSTIC

     3.    I am a Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”) and have been so employed since August

2014. As a function of my assignment, I have received both


     1 The FBI and partner agencies are contemporaneously seeking
federal search warrants. However, to protect sensitive
information related to the government’s ongoing investigation, I
have limited the scope of the information contained within this
affidavit.

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formal and informal training from the FBI and other institutions

regarding computer technology, financial investigations,

cryptocurrency, and drug trafficking organizations. As a Special

Agent with the FBI, I am authorized to investigate violations of

the laws of the United States and to execute search and seizure

warrants issued under the authority of the United States. I have

conducted and participated in criminal investigations for

violations of federal and state laws including, but not limited
to, narcotics trafficking, computer-based financial crimes,

money laundering, firearms, fraud, and other organized criminal

activity. I have prepared, executed, and assisted in numerous

search and arrest warrants.

     4.    I have also conducted and participated in criminal and

administrative interviews of witnesses and suspects. I am

familiar with the formal methods of illegal narcotics

investigations, including, but not limited to, electronic

surveillance, visual surveillance, general questioning of

witnesses, search warrants, confidential informants, the use of

undercover agents, and analysis of financial records, including

those related to digital/cryptocurrencies. I have participated
in investigations of organizations involved in the manufacture,

distribution, and possession with intent to distribute

controlled substances.

                   III. SUMMARY OF PROBABLE CAUSE

     5.    HAMPTON is the leader of a Darknet drug conspiracy to

manufacture and sell illegal drugs, including large quantities



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of pills that HAMPTON and the co-conspirators pressed with

fentanyl (sold as “blues”, “M30s”, or “Cartel M30s”) and

methamphetamine (sold as “press Adderall”, “Adderall 30s”, or

“Addy”).   HAMPTON has been selling drugs on the Darknet since at

least January 2021, and has primarily used the vendor moniker,

“Narco710.”   HAMPTON also sold drugs on at least one Darknet

marketplace using the “Narco310” moniker.        Evidence seized from

HAMPTON’s iCloud and email accounts show that HAMPTON has

produced hundreds of thousands --- or more --- of fentanyl- and

methamphetamine-laced pills and has sold millions of dollars of

drugs through his Darknet vendor accounts.        For example, a

photograph from HAMPTON’s iCloud account depicting the Tor-2-

Door drug marketplace shows that as of August 1, 2022, HAMPTON

had sold over $1,000,000 in drugs on the marketplace.          Another

seized image shows that HAMPTON had sold narcotics worth over

$480,000 on Dark0de market.      These are just two of the nine

Darknet marketplaces that HAMPTON likely controls or controlled.

     6.    As discussed below, the FBI has conducted multiple

undercover drug purchases from Narco710 vendor accounts,

including purchasing four ounces of “Cartel Crystal Meth” from

Narco710’s account on ASAP market on May 3, 2022. The FBI

purchased the drugs by paying $700 in Bitcoin cryptocurrency.

Paragraph 20(d) contains a photograph of the listing, including

a picture of the methamphetamine used to advertise the drugs on


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ASAP market.   That image depicts multiple pounds of crystal

methamphetamine shards displayed on a flat surface with a

written note held to a whiteboard by magnets behind it. The

written note on the whiteboard stated, “4-8-22 NARCO 710 ASAP

Alphabay Archtyp”. As noted below, this same image was seized

from HAMPTON’s Google email account and HAMPTON’s iCloud

account.

     7.    On May 13, 2022, FBI investigators retrieved and

opened the parcel purchased from Narco710 on ASAP Market which

contained white crystal-like substance weighing approximately

119.1 grams that was concealed inside a mylar bag. The DEA

Southwest Laboratory conducted chemical analysis of the crystal-

like substance and determined it contained at least

approximately 102 grams of actual methamphetamine.


                   IV. STATEMENT OF PROBABLE CAUSE

     8.    Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.    HAMPTON Imported Pill Press Machine Parts and Molds to

           Manufacture Illegal Drugs

     9.     Federal law enforcement agencies, including agents

with the DEA and the FBI, are investigating HAMPTON for

suspected manufacturing and distributing controlled substances,




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including selling fentanyl and other drugs on various illegal

marketplaces on the Darknet. 2

     10.    Based on my training and experience and discussions

with other law enforcement personnel, I know that pill press

machines, often referred to as “pill presses,” are used by drug

traffickers to manufacture pills that contain illegal drugs,

including fentanyl and methamphetamine.        A pill press “die” is a

molded piece that attaches to a pill press to cut and/or mark

tablets so that the pills being manufactured have recognizable

markings.   In the case of counterfeit pills, the individual

producing the contraband pills uses one or more pill dies to

emulate the markings on authentic prescription pill, such as

Oxycodone or Adderall.

     11.    In August 2021, United States Customs and Border

Protection (“CBP”) notified the DEA that CBP had seized a

shipment from China containing a pill press die set that was

addressed to HAMPTON at 171 Pier Ave #432, Santa Monica, CA

90405 (i.e., “Subject Premises 5”).        Based on records provided

by AT&T, HAMPTON was --- at the time --- the subscriber of the

following cellular phones that listed Subject Premises 5 as

HAMPTON’s address: (310) 923-2561 (“Subject Telephone 1”); and

(424) 384-3418 (“Subject Telephone 2”).

     2 The “Darknet” or “Darkweb” are often used interchangeably
to refer to websites and services that are not accessible
through standard internet search engines such a Google. Rather,
the Darknet is accessible only with specific software,
configurations, or authorization, often using non-standard
communication protocols and ports. Darknet marketplaces are
illegal forums on the Darknet that permit users to purchase and
sell drugs, contraband, and illegal services.

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     12.   On September 3, 2021, DEA Agents conducted an address

check of Subject Premises 5 and learned that it is a post office

box located at the Ocean Park Mail and Business Center, a third-

party post office.    Based on information from the rental

application for Subject Premises 5, HAMPTON was listed as the

rental applicant and Subject Telephone 1 was listed as HAMPTON’s

contact number.

     13.   Based on the invoice for the shipment of the pill
press die set, Subject Telephone 2 is listed as HAMPTON’s

contact phone number.     When agents inspected the die set, agents

saw that the markings were consistent with engraving used on

authentic Adderall 3 30 mg tables, namely, the marking “AD”

engraved on the end of one pill press die, and the marking “3|0”

engraved on the second pill press die.

     14.   As detailed below, evidence shows that HAMPTON and his

co-conspirators used pill press machines to produce hundreds of

thousands --- or more --- of counterfeit pills that contained

methamphetamine, fentanyl, and/or other drugs, including

counterfeit Adderall pills.

     15.   Based on my review of records obtained from LFA

Machines, a company that sells pill presses and related

supplies, HAMPTON made numerous purchases from LFA Machines for




     33Adderall is a Schedule II federally controlled central
nervous system stimulant. Adderall 30 mg pills are orange in
color.

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parts related to a TDP 5 Tablet Press Machine 4 and/or binder

compounds 5 used to manufacture pills between January 2021 and
February 2022.

         16.    As noted above, CBP intercepted a die set that could

be used to manufacture counterfeit “Adderall 30” tablets that

was mailed to HAMPTON in or around August 2021.         Based on

records received from LFA Machines, HAMPTON purchased

approximately 700 kilograms of tablet binding agent between June

2021 and April 2022, including “Firmapress Orange 10kg” binding

agent and “LFA Firmapress All-In-One Pharmaceutical-Grade

Excipient Blend-White 5kg (11 pounds) - Pill Mix Powder for Easy

Tablet Formulation.” 6       The binding agents were addressed to

either HAMPTON or aliases used by HAMPTON, including D.D. and

S.S. 7       These precursor materials were shipped to Subject Premises

5.

         17.    Based on records received from Amazon.com, HAMPTON is

the subscriber of an Amazon.com account that has been used to

repeatedly purchase products likely used to manufacture,



     4 A TDP 5 is a model of a tablet press machine that has the
ability to produce a wide range of tablet sizes in small or
large batches at a rate of approximately 5,000 tablets per hour.
       A binder is a chemical compound that has an adhesive
         5
property, and is an essential element used in manufacturing
pills.
     6 Based on my training and experience and discussions with
other law enforcement officers, I also know that the orange and
white binding agents could be used to press counterfeit pills
that are consistent with the color of the authentic Adderall 30
tablets depicted above.
       D.D. and S.S. are real people and believed to be identity
         7
theft victims.

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package, conceal, and ship narcotics, including multiple large

bags of Firmapress Tablet Mix Powder, shipping labels, bubble

mailers, “Mini Ziplock baggies”, a heat-sealing machine, a

vacuum sealing machine, disposable gloves, and vacuum sealer

bags, among others.     HAMPTON’s Amazon.com account lists a

residence associated with HAMPTON and Subject Premises 5 as the

addresses associated with the account. HAMPTON’s Amazon.com

records also show that HAMPTON purchased approximately 164

kilograms of binder compound between June 2021 and February

2022, including orange, white, and green binder compounds.

     B.    HAMPTON Uses the Moniker “Narco710” to Sell Illegal

           Drugs on the Darkweb, Including Methamphetamine and

           Fentanyl

     18.   On June 27, 2022, the Honorable Jean Rosenbluth,

United States Magistrate Judge, signed a warrant to search three

Google email accounts associated with HAMPTON.         During my review

of the records that Google provided, I seized substantial

evidence related to the Target Offenses, including:
           a.   Photographs depicting large quantities of

suspected illegal drugs;

           b.   Receipts and correspondence related to purchasing

parts for pill press machines;

           c.   Photographs of computer screens displaying open

internet browser tabs for The Onion Router (“TOR”), Dark0de

Market, Electrum Wallet, World Market, and cryptocurrency

transactions;




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           d.    Emails received between May 2021 and February

2022 from Quora --- a website that allows users to post

questions and answers to other users’ questions --- containing

hyperlinks to posts “related to” the following topics: “How can

I build a website and customize it on the Dark Web?”, “How do

you start your own market on the dark web?”, “can I access the

Dark Web from my iPhone?”, “What is a typical shift like for a

big city cop, for example an officer of the LAPD”, and “Where
can I find people who want to buy or sell bitcoin?”;

           e.    Emails containing order details for various items

likely related to HAMPTON’s drug trafficking scheme, including

air/bubble mailers, mannitol powder, shipping labels, mini

ziplock baggies, nitrile gloves, currency bands, vacuum sealer

machine, vacuum sealer bags, cryptocurrency hardware wallet,

wireless home security camera system, components for firearms,

and various pill press binder compounds;

           f.    Emails showing receipts of money transfers from

HAMPTON to CO-CONSPIRATOR 1;

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           g.    Emails sent from HAMPTON’s email accounts to

“Narco310@protonmail.com” 8 that attached photographs depicting

large quantities of suspected narcotics and references to

“Narco710”, including the following:




     8 ProtonMail is an encrypted email platform based in
Switzerland. As described below, Darknet drug traffickers often
use ProtonMail and other non-U.S.-based communication platforms
to conceal their illegal activities from law enforcement inside
the United States.

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     19.   HAMPTON’s email accounts also contained photographs

directly linking him to photographs used to advertise drugs on

Narco710 vendor accounts, including the following:

           a.    An email sent from hamptonchris707@gmail.com to

Narco310@protonmail.com, dated February 5, 2022, attached an

image (left image) that was used to advertise “cartel m30s” by

Narco710 on Dark0de Market (right image captured on 2/9/2022):




           b.    An email sent from Hamptonchris707@gmail.com to

Narco310@protonmail.com, dated February 18, 2022, attached an

image (left image) that was later used to advertise cocaine by

Narco710 on World Market (right image captured on 3/4/2022):




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           c.    An email sent from chbosshogg@gmail.com to

Narco310@protonmail.com, dated April 9, 2022, attached an image

(left image) that was later used to advertise “CARTEL CRYSTAL

METH” by Narco710 on various darknet marketplaces, including

ASAP Market (right image captured on 5/4/2022):




           d.    An email sent from chbosshogg@gmail.com to
Narco310@protonmail.com, dated April 21, 2022, attached a photo

(left image) that is the same image used for Narco710’s profile

photo on various messaging platforms and darknet marketplaces,

including Dark0de Market (middle image captured on 2/9/2022) and

the Narco710 user name on the Wickr application (right image

captured on 3/27/2022):




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     20.     On August 16, 2022, the Honorable Alexander MacKinnon,

United States Magistrate Judge, signed a search warrant to
search the content of HAMPTON’s iCloud (Apple Inc.) account.

Notably, HAMPTON’s iCloud account is registered to “C Milli” at

the address SUBJECT PREMISES 5, and the account is linked to

HAMPTON’s primary email address (chbosshogg@gmail.com).           During

my review of the records that Apple provided, I seized

substantial evidence related to the drug trafficking scheme,

including:

             a.   Photographs and videos depicting large quantities

of suspected illegal drugs.

             b.   Photographs and videos depicting pill press

machines, parts of pill press machines, including die sets or

molds to press counterfeit pills.

             c.   Photographs and videos of computer screens

displaying open internet browser tabs for TOR, Whitehouse

Market, Torrez Market, PGP key generator, Dark0de Market,

Electrum Wallet, World Market, and cryptocurrency transactions.

Certain of the photographs contained information about the

number of drug transactions completed by the Narco710 vendor

and/or the amount of drug proceeds HAMPTON had received for drug

transactions completed on the relevant Darknet marketplace.           For

example, a photograph depicting the Tor-2-Door drug marketplace

shows that as of August 1, 2022, HAMPTON had sold over

$1,000,000 in drugs on the marketplace.        A similar screenshot

depicting the Dark0de Market showing drug sales of approximately

$487,000 as of February 18, 2022.


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           d.    Images and videos of guns, gun parts, gun

silencers, including images like the following that depicts

multiple firearms including a possible machinegun:




           e.    Photographs and videos of large quantities of

cash wrapped in rubber bands in shoe boxes, in vehicles, and

spread out on surfaces; and

           f.    Photographs and videos of text conversations

between HAMPTON and co-conspirators that discussed illicit money

exchange transactions.




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     C.    HAMPTON Leads Multiple Co-Conspirators and Utilizes

           Numerous Darknet Vendor Accounts to Sell Illegal Drugs

     21.   Based on evidence collected during the investigation,

HAMPTON has controlled and/or used the following Darknet vendor

accounts to further the drug conspiracy:

           a.    An image file dated November 20, 2021 was seized

from HAMPTON’s iCloud account and depicted a computer screen

accessing the “Narco310” vendor profile on the marketplace

Torrez market.

           b.    Image files dated between December 16, 2021 and

February 18, 2022 that were seized from HAMPTON’s iCloud account

depict a computer screen accessing the “Narco710” vendor profile

on the Dark0de market. An image of “Narco710” vendor profile

taken by an FBI OCE on February 9, 2022, indicated “Narco710”

had been a member since December 17, 2021 and had completed

2,184 drugs sales on Dark0de market.

           c.    An image of the “Narco710” vendor profile on the

AlphaBay market, taken by an FBI OCE on August 4, 2022,

indicated “Narco710” had joined on December 20, 2021.

           d.    An image file dated January 8, 2022 that was

seized from HAMPTON’s iCloud account depicted a computer screen

accessing the “Narco710” vendor profile on the Darknet

marketplace World Market. An image sent by Wickr user “Narco710”

to an FBI OCE on March 16, 2022, depicted a computer accessing

the “Narco710” vendor profile on the marketplace World Market,

with the “joined” date stating “2 months.”




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           e.    An image file dated February 25, 2022 that was

seized from HAMPTON’s iCloud account depicted a computer screen

accessing the “Narco710” vendor profile on the Abacus market.

           f.    An image of the “Narco710” vendor profile on the

Archetyp market, taken by an FBI OCE on August 3, 2022,

indicated “Narco710” joined on February 27, 2022.

           g.    An image of the “Narco710” vendor profile on the

Bohemia market, taken by an FBI OCE on August 4, 2022, indicated
“Narco710” joined on March 22 (no year) and completed 656 drugs

sales on Bohemia market.

           h.    An image file dated on August 1, 2022 that was

seized from HAMPTON’s iCloud account depicted a computer screen

accessing the “Narco710” vendor profile on the Tor-2-Door

market. An image of the “Narco710” vendor profile taken by an

FBI OCE on August 4, 2022, indicated “Narco710” had been a

member since February 2022 and completed 145 drug sales on Tor-

2-Door market.

           i.    An image of the “Narco710” vendor profile on the

ASAP market, taken by an FBI OCE on August 3, 2022, did not

indicate when the “Narco710” vendor profile had been created,
but indicated “Narco710” had completed 1,961 drug sales on ASAP

market with the earliest positive review from a customer dated

April 9, 2022.

     D.    HAMPTON Distributes Fentanyl and Methamphetamine

     20.   On February 7, 2022, the FBI conducted an undercover

purchase of “50 cartel m30s” from the drug vendor Narco710 on a




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Darknet drug marketplace called Dark0de Market. 9        Based on my

training and experience and discussions with other law

enforcement personnel about the sale of drugs on the Darknet, I

know the term “cartel M30s” refers to counterfeit Oxycodone 10
pills that are manufactured with a pill press and usually

pressed with fentanyl.     Specifically, an undercover FBI employee

opened TOR browser and navigated to Dark0de market. The FBI OCE

then signed into the marketplace with their unique username and

password. The FBI OCE conducted a search query for “Narco710” on

Dark0de’s search feature which populated a list of illegal drugs

that “Narco710” had for sale. The OCE scrolled through

Narco710’s listings and selected the listing for 50 “cartel

m30s” for $250, which the undercover employee paid using

Bitcoin.

     21.   On February 16, 2022, FBI agents retrieved and opened

the parcel purchased from Narco710 which contained approximately

5.5 grams of blue pills packaged inside a plastic Ziplock bag.

Notably, the pills contained markings that emulate the etching

used on authentic Oxycodone M30 tablets.        The DEA Southwest




     9 Image files dated between December 16, 2021 and February
18, 2022 that were seized from HAMPTON’s iCloud account depicted
a computer screen accessing the “Narco710” vendor profile on
Dark0de market.
     10Oxcycodone is a narcotic prescription drug and Schedule
II federally controlled substance. Authentic 30 milligram
Oxcycodone pills are blue and have an “M” within a square etched
on one side of the pill. The other side of the authentic pill
has a “30” etched above a line going through the center of the
pill.

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Laboratory conducted chemical analysis of the pills and

determined the pills contained fentanyl.

     22.   On March 1, 2022, an FBI Intel Analyst visited another

Darkweb marketplace called “World Market” and identified the

profile for drug vendor Narco710.       The profile listed a PGP key 11

for drug buyers to use to exchange encrypted communications with

the user of the Narco710 account.       Using a proprietary analytic

tool, the FBI analyst parsed the PGP key and identified an email

address (houdidni310@protonmail.com) that was associated with

the creation of the PGP key. 12     The same PGP key used on

Narco710’s World Market vendor account was the same PGP key used

on Narco710’s vendor accounts on Tor2door, AlphaBay, and Bohemia

Darkweb marketplaces, which indicates that the same person or

persons controls all of these vendor accounts.

     23.   On March 9, 2022, utilizing an undercover moniker on

the Darknet marketplace World Market, the FBI purchased “3.5

grams Synthetic China 260$$” from Narco710.         Based on my



     11 Pretty Good Privacy (“PGP”) is an encryption system used
for both sending encrypted emails and encrypting sensitive
files. A PGP key is tied to a particular person’s identity, and
anyone can use computer software and the PGP key to send
encrypted communications to the user of the PGP key.
     12Based on records the FBI received from Block, Inc., the
parent company for a cash transferring application service
called “Cash App”, that same email address
(houdini310@protonmail.com) is listed as the email account
associated with a Cash App account belonging to Christopher
HAMPTON. Subject Telephone 2 is listed as the phone number
associated with the account, and HAMPTON’S PO BOX is listed as
one of the addresses associated with the account. Block, Inc.
records also show that HAMPTON has a second Cash App account and
that SUBJECT EMAIL ACCOUNT 1 is an email address associated with
that account.

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training and experience, I know that the term “synthetic China”

or “China white” refers to synthetic heroin usually mixed with

fentanyl or other similar synthetic opioid drugs.

     24.   On March 16, 2022, FBI investigators retrieved and

opened the parcel purchased from Narco710 on World Market which

contained chunks of grey powder weighing approximately 3.9 grams

that were concealed inside a small Ziploc bag.         The DEA

Southwest Laboratory conducted chemical analysis of the powder

and determined the powder contained fentanyl.

     25.   Between March 4, 2022 and March 16, 2022, using the

encrypted messaging application Wickr, I used an undercover

account to communicate with “narco710”. During the conversation,

Narco710 stated that he was utilizing the Narco710 moniker on

various Darknet marketplaces, including World Market.          On March

4, 2022, Narco710 and I had the following conversation on the

Wickr application:

     Undercover Moniker:     Is this the same narco710 from world
     market?
     Narco710:    Yes
     Undercover Moniker: Are you still selling on the market?
     Reddit says youre scamming people :(
     Narco710: Yes. No imao. Im on world, archtype and alpha. 13
     Reed my reviews I dont scam anyone. i just found out there
     is some one on telegram. Using my name robbing people.



     13Based on my training and experience, I understand that
Narco710’s reference to “world” is short for the Darknet drug
marketplace, World Market. The other two marketplaces Narco710
referenced are AlphaBay and Archetyp Market. As noted above,
the FBI also purchased drugs from Narco710 using Darkode
marketplace. By March 2022 (the date the Wickr communications
began), the Darkode marketplace was no longer operational.

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     Undercover Moniker: Are you Narco310 on here too? Or
     that’s somebody else? Whats your telegram name then? Im so
     confused. i dont know who to believe.
     Narco710: No just narco710. And im not on any other
     messengers. Going to post my page tomorrow do not buy from
     telegram. I dont use telegram.

     26.    From March 18, 2022 through March 24, 2022, utilizing

an undercover moniker, FBI investigators communicated with

Narco710 on the Wickr application to arrange the purchase of 100

“M30” pills –-- the counterfeit oxycodone pills described above.
During that conversation, Narco710 sent the FBI undercover

account a “Wickr direct deal menu” listing various illegal drugs

for sale with corresponding prices, including “Adderall

pressed”, “china white fent free”, “Crystal meth”, “Black tar”,

“Cartel m30s”, among others.      Narco710 also wrote: “We also

supply whole stores if you are a vendor and would like us to

ship for you or want are products on your inventory we have as

much as you need of every product we have. Cocaine will be back

in stock in a few days.”

     27.   The user of the Narco710 Wickr account also sent the

following messages to undercover FBI investigators:


     Narco710: Would you like a sample of any other product?
     Lol I could have some one walk to you and it would be
     faster then the mail. I was in mar vista yesterday. Small
     world.
     Undercover Moniker: haha nice! Wow so we are not far! Do
     you ever give people their product in person? I’m just a
     little nervous as a female :-)




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     Narco710: [Sends a message that was instantly deleted 14
     before FBI investigators had time to take a screen shot,
     but I understand that the message basically stated that
     Narco710 rarely meets people in person and doesn’t even
     like talking to people on WICKR]
     Undercover Moniker: Oh wait that deleted before I finished
     reading it! Sorry I’m slow lol But basically your not a
     people person is what I’m gathering? :-)
     Narco710:    How do you like mar vista?
     Undercover Moniker: It’s nice! Chill vibe, close to the
     beach… what about you? Do you like it? Good hidden gem
     restaurants too.
     Narco710: If it would be easier I’m sure I can have one of
     my workers go some where like at mar vista park and take a
     photo where it is. Then draw you a treasure map lol

     28.   Based on my training and experience, I believe in this

conversation Narco710 is implying to the FBI undercover moniker

that he works with others to distribute drugs and that he

directs “workers” to deliver narcotics to customers.          These

messages also reference that Narco710 is located in Southern

California and had recently visited Mar Vista --- a location

close to a post office box controlled by HAMPTON (i.e., Subject

Premises 5) and a location HAMPTON and his co-conspirators

likely use to press fentanyl and methamphetamine pills (i.e.,

Subject Premises 1).

     29.   On April 21, 2022, utilizing an undercover moniker on

the Darknet ASAP Market, the FBI purchased “100 Pressed Adderall

30mg AD30” from Narco710. On May 9, 2022, FBI investigators


     14A Wickr user can set their preferences to automatically
delete messages after a period of time. Wickr allows users to
utilize the feature “burn-on-read” which delete messages once
they have been read by the recipient. Wickr also allows users to
utilize the feature of an expiration timer where the user can
set the time frame from when the messages get deleted.

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retrieved and opened the parcel purchased from Narco710 on ASAP

Market which contained approximately 100 orange pills weighing

approximately 62.6 grams that were concealed inside a mylar bag.

The DEA Southwest Laboratory conducted chemical analysis of the

orange pills and determined the pills contained methamphetamine.

     E.    The Charged Offense: HAMPTON Distributes

           Methamphetamine on or about May 3, 2022

     30.   On May 3, 2022, utilizing an undercover moniker on the

Darknet ASAP Market, the FBI purchased “4oz Cartel Crystal Meth”

from Narco710.    Specifically, the FBI OCE opened TOR browser and

navigated to ASAP market.      The FBI OCE then signed into the

marketplace with their unique username and password. The FBI OCE

conducted a search query for “Narco710” on ASAP market’s search

feature which populated a list of illegal drugs that “Narco710”

had for sale. The FBI OCE scrolled through Narco710’s listings

and selected the listing for “CARTEL CRYSTAL METH 1oz”. The

listing stated the available quantity of “CARTEL CRYSTAL METH

1oz” was 1000 (approximately 62.5 pounds), and offered amounts

available for purchase as one, four or eight ounces. The FBI OCE

selected to purchase four ounces for $700 in which the OCE paid

using Bitcoin. The image used in the listing depicted what

appeared to be multiple pounds of crystal methamphetamine shards

displayed on a flat surface with a written note held to a

whiteboard by magnets behind it. The written note on the

whiteboard stated, “4-8-22 NARCO 710 ASAP Alphabay Archtyp”. As




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mentioned above, this same image was seized from HAMPTON’s

Google email account as well as HAMPTON’s Apple iCloud account. 15

     31.   On May 13, 2022, FBI investigators retrieved and

opened the parcel purchased from Narco710 on ASAP Market which

contained white crystal-like substance weighing approximately

119.1 grams that was concealed inside a mylar bag. The DEA

Southwest Laboratory conducted chemical analysis of the crystal-

like substance and determined it contained at least

approximately 102 grams of actual methamphetamine.

     F.    HAMPTON Controls a Location that the Co-Conspirators

           Use to Press Fentanyl and Methamphetamine Pills

     22.   Subject Premises 1 is located at 423 Warren Lane,

Inglewood, CA 90302. As discussed below, evidence shows that

HAMPTON and his co-conspirators are using Subject Premises 1 to

manufacture pills containing illegal drugs, including fentanyl

and methamphetamine.

     23.   Between January and April 2022, HAMPTON frequently

placed food orders that were delivered near or to Subject

Premises 1.   For example, records from GrubHub show that food

was delivered to 404 Warren Lane on January 22, 2022 and

delivered to 423 Warren Lane on March 1, March 2, March 5 and

April 7, 2022. Records from DoorDash indicated food had been

     15As previously mentioned, an image file dated February 25,
2022 that was seized from HAMPTON’s iCloud account depicted a
computer screen accessing the “Narco710” vendor profile on the
marketplace Abacus market. The same PGP key used on Narco710’s
Abacus market vendor account was the same PGP key used on
Narco710’s ASAP and Archetyp vendor accounts, which indicates
that the same person or persons who controlled one of these
vendor accounts controlled all of these vendor accounts.

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delivered to Subject Premises 1 approximately 26 times between

February 2 and April 11, 2022.

     24.   Additionally, during surveillance on April 27, 2022,

DEA Agents saw CO-CONSPIRATOR 1 remove a handful of items and a

tote/crate from a trunk registered to HAMPTON and enter the

walkway to the apartments located at 423 Warren Lane (i.e.,

Subject Premises 1”). Shortly after, DEA Agents saw CO-

CONSPIRATOR 1 exit from the walkway of the apartments carrying a
black trash bag which CO-CONSPIRATOR 1 discarded in a public

dumpster located on Warren Lane. CO-CONSPIRATOR 1 then returned

to the walkway leading back to the apartment complex and entered

an unknown apartment door before departing in HAMPTON’s vehicle.

     25.   DEA Agents conducted a trash pull of the black trash

bag that CO-CONSPIRATOR 1 discarded. Based on information from

other law enforcement personnel and my review of photographs

depicting the contents of the trash bag, CO-CONSPIRATOR 1

discarded substantial evidence related to manufacturing,

packaging, and distributing narcotics, including United States

Postal Services (USPS) Priority Mail envelopes, a broken scale,

multiple black disposable gloves containing trace amounts of an
unknown orange substance, various Ziploc baggies commonly used

to package narcotics, empty Ziploc baggies labeled “M30 50’s”

and “F-500 China White”, and multiple sheets of paper notating

different narcotics in a manner consistent with individual

orders. DEA Agents further recovered several pills, including a

blue “M30” pill, multiple white elongated pills with markings “M

523” on one side and “10/325 on the other side, multiple orange


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pills with markings “b 974” and “AD 30”, and a clear baggie

containing a crystal-like substance suspected to be

methamphetamine.

     26.     Based on my review of the photographs depicting the

content of the trash bag discarded by CO-CONSPIRATOR 1, I saw

several pills and packaging material that were similar to items

the FBI received from undercover drug purchases from Narco710,

including:
             a.   a blue “M30” pill that looked substantially

similar to the M30 pills purchased from Narco710 on February 7,

2022; and

             b.   orange pills with “AD” and “3|0” engraved on

them, similar to the counterfeit Adderall pills purchased from

Narco710 on April 21, 2022.

     27.     Additionally, one of the photographs depicts small

plastic baggies, including a small yellow plastic bag depicting

“8 ball” images. Those plastic baggies look substantially

similar to the baggies that Narco710 used to package the “M30”

pills and the “China white” that the FBI received in the mail.

Lastly, the photographs show that USPS Priority Mail envelopes
were found in the trash pull, which are the same type of

envelopes that Narco710 used to mail the FBI’s undercover drug

purchases.

     28.     The DEA Southwest Laboratory conducted a chemical

analysis of the crystal-like substance, the pills and other

items that were retained as evidence from the trash pull.

Laboratory results determined that the crystal-like substance,


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as well as some of the pills that were recovered, contained

methamphetamine.    The laboratory also determined that other

recovered pills contained fentanyl. Laboratory results also

determined methamphetamine and cocaine residue were present on

other items.

     29.   On May 17, 2022, I conducted surveillance along with

DEA agents and observed HAMPTON leave Subject Premises 4 in his

black Toyota Tundra, CA license plate #00198S1, and drive to
Subject Premises 1. I observed HAMPTON park his truck on the

street and walk down the walkway to the stairway that led down

to the door of the building’s basement. Additional surveillance

was conducted on May 25, 2022 at Subject Premises 1 where agents

observed HAMPTON enter the door at the bottom of the stairway

that led down to the basement of the building.

     30.   In October 2022, I seized images and videos from

records provided by Apple that contained EXIF data embedded in

the images that provided the coordinates related to where the

image/video was originally taken; several images and videos

correlate to the approximate location of Subject Premises 1,

including the following:
           a.    A video dated December 28, 2021, depicted a pill

press on a table in the basement of the apartment building.           The

video begins by depicting an area of the basement where dry wall

was placed to separate the space from the rest of the basement

and continues as the person filming walks through an open

passage that appears to access the rest of the unfinished

basement of the apartment building;


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           b.    A video dated January 9, 2022, depicted a laptop

with an open browser window on Darknet marketplace World Market,

logged in as Narco710; a tabletop pill press machine covered in

orange powder is seen behind the laptop screen;

           c.    An image dated January 16, 2022, depicted a

vacuum sealed bag containing green bar-shaped pills;

           d.    A video dated February 2, 2022, depicted a laptop

screen scrolling through bitcoinpostage.com; the voice of an
unknown co-conspirator asks, “Are you almost done with that one,

man?” and a voice that I identified as HAMPTON’s responded,

“yeah”;

           e.    An image dated February 25, 2022, depicted a

laptop screen with an open browser tab to the registration page

for Darknet Abacus market, with Public Username “Narco710”;

           f.    A video dated March 11, 2022, depicting three

tabletop pill press machines, two of which were turned on and

pressing white and orange pills;

           g.    An image dated April 11, 2022, depicted a close-

up image of what appeared to be a 220-type electrical plug with

an individual that appears to be CO-CONSPIRATOR 1 sitting on the
floor in the background.     CO-CONSPIRATOR 1 appeared to be

holding the electrical plug to what I recognized to be a blue

and silver pill press machine sitting on the floor in front of

him;

           h.    An image dated April 27, 2022, depicted 26 vacuum

sealed bags of orange pills;




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            i.   An image dated May 28, 2022 did not contain EXIF

location data, but depicted what I recognized to be the front

door of Subject Premises 1. Written on the front door in black

marker were multiple iterations of “I love fentanl” or “I

(drawing of a heart) fentanl.”

            j.   An image dated June 11, 2022, depicted a large

Rubbermaid brand trash can filled with at least 70,000 pressed

pills.    Specifically, the image shows at least seven large
ziplock-type plastic bags of white pills shaped like bars with

the letters “xanax” imprinted on them; the bags were labeled

“10k” in black marker.

     G.     HAMPTON and His Co-Conspirators Possess Numerous

            Firearms

     31.    Based on the evidence seized in this investigation, my

training and experience related to Darknet drug trafficking

crimes, I believe that HAMPTON and his co-conspirators are

likely armed and dangerous.      In addition to the evidence

described above related to HAMPTON’s possession of firearms, I

also seized the following evidence from HAMPTON’s iCloud

account:

            a.   A video showing HAMPTON fire an assault-style

weapon outside of a residence associated with HAMPTON (“Subject

Premises 3”).    Other individuals depicted in the video also

appear to discharge firearms in the front yard area of Subject

Premises 3 while setting off fireworks in the street.          Although

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the video is undated, HAMPTON moved into the residence in May

2022, so the video was likely taken after that date.




           b.    Images and video files depicting firearms,

firearm components, including “auto switches” (components to

modify semiautomatic firearms to fire as machineguns), a firearm

3D printer, and suppressors;

           c.    Image of an AR-15 style rifle with OD-Green grip

and stock, magazine inserted, and scope attached in a rifle bag

dated April 4, 2020;




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            d.   Image of multiple firearms with extended

magazines and/or suppressors attached, including the following:




            e.   Video of a suppressor with what sounds like

HAMPTON’s voice “I dropped it, it’s a silencer” dated September

22, 2021;

            f.   Video of suppressor with what sounds like

HAMPTON’s voice saying “Silencer” dated September 22, 2021;

            g.   Video of suppressor dated November 24, 2021;

            h.   Image of a blue-gloved hand holding what appeared

to be a Glock sub-compact pistol dated January 16, 2022;

            i.   Image of a hand holding a handgun with grey

polymer80 lower with a skeletonized slide and fiber optic front
sight dated February 2, 2022;

            j.   Multiple images depict one or more handguns,

including images of a grey pistol with a high-capacity magazine

inserted;

            k.   Image of p80 pistol lower receiver with an

extended magazine on an individual’s lap in a vehicle;



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             l.   Images of a large pile of mushrooms on the floor

with four (4) pistols, an UZI, and a rifle with a holographic

sight in the middle, surrounded by Narco710 Store business

cards, dated May 14, 2022.      One of these images is included in

the affidavit at Paragraph 20(d).
             m.   Images of a suspected automatic weapon near

extended magazines containing ammunition, including the

following:




             n.   Image of a rifle on granite countertop covered in

U.S. currency:




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